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                  UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DANIELLE DOBIAS,                                      )
                                                      )
                               Plaintiff,             )
                                                      )
                       vs.                            )       No:
                                                      )
OAK PARK AND RIVER FOREST                             )
HIGH SCHOOL DISTRICT 200                              )
THOMAS TARRANT and                                    )
JOHN STELZER,                                         )
                                                      )
                               Defendants.            )

                                            COMPLAINT

       NOW COMES the Plaintiff, DANIELLE DOBIAS (“Plaintiff”), by and through her

counsel, Nicholas F. Esposito, Bradley K. Staubus and Brittany N. Bermudez, and for her

Complaint against Defendants, OAK PARK AND RIVER FOREST HIGH SCHOOL (“OPRF”),

THOMAS       TARRANT         (“Tarrant”),    and   JOHN     STELZER      (“Stelzer”)    (collectively

“Defendants”), and states as follows:

                                Jurisdiction, Venue, and Parties

       1.      This action is brought pursuant to: Title VII of the Civil Rights Act of 1964 as

amended (42 U.S.C. § 2000e, et seq.).

       2.      This action is brought under 28 U.S.C. § 1331 because this action arises under the

laws of the United States, and §1343(4) because this action arises from an Act of Congress for

the protection of civil rights. The jurisdiction of this Court is invoked to secure protection of and

redress deprivation of rights guaranteed by federal law, which rights provide for damages,

injunctive and other relief for illegal discrimination in employment. This action is also brought

pursuant to supplemental jurisdiction for related Illinois, county and state statutory and common
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law claims.

        3.      Venue in this district is proper under 42 U.S.C. § 2000e-5(f) (3) and 28 U.S.C. §

1391(b) and (c) because the unlawful employment practices occurred in this district and the

Defendant does business in this judicial district.

                             FACTS COMMON TO ALL COUNTS

        4.      Plaintiff is a Cook County, Illinois resident. She is and at all relevant times was a

special education teacher at OPRF and was the OPRF assistant girl’s cross-country coach.

        5.      Defendant OAK PARK AND RIVER FOREST HIGH SCHOOL (“OPRF”) is

located in Cook County, Illinois.

        6.      At all times relevant hereto, Tom Tarrant (“Tarrant”), male, was a Special

Education Behavioral Interventionist at OPRF and was the OPRF head girl’s cross-country

coach. His office was a short distance from Plaintiff’s classroom,

        7.      Tarrant’s Special Education Behavioral Interventionist work duties included

assisting students, and special education teachers such as Plaintiff, with disruptive and/or

disorderly students in Plaintiff’s classroom.

        8.      In his capacity as head coach for the girls’ cross-country team, Tarrant was also

Plaintiff’s supervisor

        9.      At all times relevant hereto, John Stelzer (“Stelzer”), male, was OPRF athletic

director.

        10.     At all times relevant hereto, Plaintiff and Tarrant were both married to other

individuals.

        11.     In March 2012, Tarrant told Plaintiff, “I am in love with you.” Plaintiff rejected

his advances.




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       12.     In April 2012, Tarrant asked Plaintiff about her marriage and said, “I would be the

perfect match for you.” Plaintiff again rejected his advances.

       13.     In April 2012, Tarrant gave Plaintiff a cloth blanket, saying it was “good for

fertility.” Plaintiff again rejected his advances.

       14.     Plaintiff reported the incidents to ORPF officials. She received no response.

       15.     Thereafter, Tarrant, still Plaintiff’s coaching supervisor and Special Education

Behavioral Interventionist, began a pattern of retaliatory freeze-out against Plaintiff.

       16.     Tarrant asked Plaintiff if he needed to get another assistant coach for the girls’

cross-country team.

       17.     Tarrant refused Plaintiff’s requests for coach schedule changes which previously

he readily allowed.

       18.     Tarrant conducted cross-country coach meetings without Plaintiff.

       19.     Plaintiff had a very good relationship with students and their parents. Tarrant

removed Plaintiff’s name from emails to and from parents during the cross-country season.

       20.     Tarrant sent an email to a school parent and another school employee that

contained pornographic material. The matter was reported to male Athletic Director Stelzer.

Stelzer ordered the school employee to destroy the Tarrant email.

       21.     At all times relevant hereto, OPRF had and maintained a student Behavior

Intervention program. It included among other things, support for positive behavioral

intervention. It designated and employed Behavioral Interventionists to assist students, teachers,

and staff, including for the purpose of maintaining discipline in building, and on the school

grounds, to ensure proper education environment. See 105 ILCS 14 – 8.05.




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         22.     At all times relevant hereto, TARRANT, as a special education Behavioral

Interventionist, had a duty to address, assist, and follow-up on Plaintiff’s requests for behavioral

intervention with her special education students. See 105 ILCS 5/24 – 24; and 105 ILCS 14 –

8.05.

         23.     On or after July 2012, Tarrant began ignoring Plaintiff’s requests for special

education behavioral intervention in her classroom, putting Plaintiff and students in danger.

         24.     In August 2012, Plaintiff asked Tarrant to meet with recently suspended students

who were being returned to her classroom to counsel them about avoiding fights in her

classroom. Tarrant ignored her request.

         25.     Plaintiff received a crude paper from one of her students and made a sexual

gesture to her. She asked Tarrant for help. Tarrant ignored her request.

         26.     In September 2012, Tarrant ignored Plaintiff during girls’ cross-country team

practices.

         27.     On September 8, 2012, Tarrant refused to meet with Plaintiff for coach meetings.

         28.     Tarrant refused to provide Plaintiff a copy of his girls’ cross-country team

workout schedule.

         29.     On September 11, 2012, Plaintiff told Tarrant to stop asking other OPRF staff

members personal questions about her. In response, Tarrant told Plaintiff she should not coach

cross-country.

         30.     In mid September 2012, Tarrant asked others where Plaintiff was moving her

residence.

         31.     Plaintiff and the other female assistant coach took a weekend trip. Beforehand,

Tarrant asked the other female assistant coach where Plaintiff would be sleeping.




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       32.       On September 20, 2012, Plaintiff reprimanded a student for discussing drugs in

her classroom. The student walked out of class. Plaintiff emailed Tarrant asking for help.

Tarrant ignored her request.

       33.       On September 21, 2012, Plaintiff’s seventh period students stopped doing their

work, saying, “You won’t be here for much longer.” Plaintiff sent the students to Tarrant’s

office for discipline. They returned laughing and said, “Everyone says you are getting fired.”

       34.       On September 25, 2012, Plaintiff requested Tarrant’s help with students in her

classroom. Tarrant refused her request.

       35.       From October to December 2012, Tarrant continued to fail to respond to

Plaintiff’s requests for behavioral intervention.

       36.       Plaintiff continued to complain to superiors.      Plaintiff was not told of any

investigation. Plaintiff received no response. On information and belief, there was no

investigation.

       37.       Instead, on October 29, 2012, while Plaintiff was still the assistant cross-country

coach, she was ordered not to attend the State cross-country meet that she was to coach.

       38.       On November 28, 2012, Plaintiff through Human Resources requested peer

mediation with Tarrant about his continued refusals to assist her in his job as a Behavioral

Interventionist. Tarrant refused to do so. On information and belief, Human Resources required

no corrective action from Tarrant.

       39.       In all of her assistant coaching reviews from Tarrant prior to July 2012, Plaintiff

received “excellent” coaching performance evaluation ratings. From and after July 2012, Tarrant

rated Plaintiff “good” to “satisfactory” in her coaching performance evaluation ratings.




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        40.     On January 15, 2013 (two days after returning from Christmas break), Stelzer

fired Plaintiff as assistant cross-country coach for the following year. Stelzer stated, “If the

relationship improves with Tom [Tarrant], you will be able to reapply for the [assistant cross

country] position.” As a result of losing her assistant coaching position, Plaintiff suffered

monetary loss of her assistant coach stipend, loss of prestige, embarrassment and humiliation.

        41.     The next day, January 16, 2013, Stelzer told Plaintiff that Tarrant refused to go

over his latest assistant coach low performance evaluation with her, and that he would not be

required to do so.

        42.     Plaintiff scheduled meetings with the then Human Resources Director on January

18 and 19, 2013 to discuss her complaints about Tarrant and Stelzer. The Human Resources

Director cancelled all meetings without explanation.

        43.     On January 22, 2012, Plaintiff again complained to superiors for having no

Behavioral Interventionist support from Tarrant in her classroom.

        44.     On January 23, 2013, Plaintiff complained to school officials that Tarrant stalked

her while she coached the boy’s track and field team.

        45.     In February 2013, Tarrant was removed as Plaintiff’s Behavioral Interventionist,

but his office remained near her 4th floor classroom. Plaintiff was told that when an issue arises

requiring behavioral intervention, she must call someone on the 1st floor to assist her on the 4th

floor, flagrantly putting the students and her at risk.

        46.     On March 1, 2013, Plaintiff was told that due to an investigation regarding her

complaints against Tarrant, she was to stay away from school until she was told to return.




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       47.     On March 6, 2013, Tarrant was required to sign a no-contact document about

Plaintiff. However, Plaintiff was also ordered to sign a document that she would not talk to or

about Tarrant or park next to him.

       48.     On March 15, 2013, Tarrant remained a special education Behavior

Interventionist, and was still the Behavioral Interventionist with the most-immediate proximity to

Plaintiff’s special education classroom.

       On March 15, 2013, one of Plaintiff’s special education students became out-of-control,

threw a computer, and yelled that he was going to “kill” Plaintiff and the students in her

classroom. Believing that she and her students were in immediate danger, Plaintiff called

Tarrant’s assistant for help. Tarrant’s assistant told Tarrant that there was an out-of-control

student. Tarrant refused and failed to go to Plaintiff’s aid or to send anyone else. Plaintiff was

left to fend off the threatening student and to protect the other students with no assistance.

       Another teacher in a nearby classroom, who is not a trained Behavioral Interventionist,

heard the commotion, went to Plaintiff’s classroom, and escorted out of the classroom all

students except the threatening student. The threatening student then charged at Plaintiff.

       Plaintiff, while fearing for her own safety, talked the threatening student down, but

remained shaken and frightened. She complained to officials that Tarrant refused to assist her.

On information and belief, nothing was done.

       49.     Four days later on March 19, 2013, Plaintiff was told that she would not be

teaching her four (4) academic special education classes the next school year. Instead, she would

be assigned four (4) study halls. No one else in the department had more than two (2) study

halls. The loss of her special education classes meant Plaintiff would be removed from her

regular classroom.




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        50.    Plaintiff complained to school officials. She was told that she is “part of a messed

up situation” with a “messed up guy” and that everyone wants “it to go away”. In response to

her question why she was being punished with a different schedule, Plaintiff was told, “it’s just

how it worked out."

        51.    On August 12-15, 2013, Plaintiff returned for the new school year. She found

that she had no desk, phone, or computer.

        52.    On August 26, 2013, Plaintiff’s email to another teacher suddenly appeared on

students’ screens. A school IT employee told Plaintiff that he was looking at her emails.

        53.    On September 16, 2013, Plaintiff was told that she would be called into a meeting

with the acting Human Resources Director and Stelzer about a written complaint from Tarrant.

        Tarrant falsely accused her of verbal and physical aggression and violation of the non-

contact agreement.

        Plaintiff became the subject of a Human Resources investigation, including being

required to meet and answer questions and to make a statement about the charges. Tarrant’s

allegations were determined to be unfounded, and therefore false. Plaintiff still received a

written reprimand.

        54.    On November 12, 2013, Tarrant made a second written complaint against

Plaintiff.

        Tarrant falsely accused her of “violations of administrative guidance regarding

attendance of Danielle Dobias at the IHSA event,” assault, and other matters.

        Plaintiff became the subject of another Human Resources investigation, including being

required to make a statement about the charges. These allegations were also determined to be

unfounded, and therefore false.




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        55.     On information and belief, Tarrant has received no reprimand, discipline or other

punishment for making false allegations against Plaintiff.

        56.     As of the filing of this action, Tarrant is still employed at OPRF. Plaintiff has

never received any response to her complaints against Tarrant other than the retaliatory incidents

heretofore described.

                                           COUNT I
                Sexual Discrimination - Title VII of the Civil Rights Act of 1964

        57.     Paragraphs one through fifty-six (1-56) are incorporated herein by reference as

paragraph sixty-four (57).

        58.     Defendants subjected Plaintiff to sexual harassment and discrimination and by

otherwise perpetrating a hostile work environment toward her as a female in violation of Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e.

        59.     Defendants failed to comply with their statutory duty to take all reasonable and

necessary steps to eliminate discrimination from the workplace and to prevent it from occurring

in the future in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e.

        60.     As a direct and proximate result of Defendants’ discrimination against Plaintiff,

she has suffered and will continue to suffer damage including loss of wages and benefits,

liquidated damages, back pay, pain and suffering, and extreme and severe mental anguish and

emotional distress. Plaintiff is thereby entitled to general and compensatory damages in amounts

to be proven at trial.

        61.     Plaintiff also seeks prejudgment interest, post-judgment interest, and costs

including reasonable statutory attorneys’ fees and expert witness fees.

        62.     Plaintiff also seeks preliminary and permanent including mandatory injunctive

relief ordering OPRF to restore Plaintiff to her assistant coach position, and enjoining OPRF



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from engaging in any further retaliatory action against Plaintiff arising from her discrimination

complaints.

        WHEREFORE, Plaintiff prays for judgment in her favor and against Defendants and asks

that the court award her direct and consequential damages, lost wages and benefits, liquidated

damages, back pay, reasonable statutory attorneys’ fees, expert witness fees, and costs, and

preliminary and permanent including mandatory injunctive relief ordering OPRF to restore

Plaintiff to her assistant coach position, and enjoining OPRF from engaging in any further

retaliatory action against Plaintiff arising from her discrimination complaints, and such other

relief as the Court may find appropriate.

                                           COUNT II
              Retaliatory Discrimination - Title VII of the Civil Rights Act of 1964

        63.     Paragraphs one through fifty-six (1-59) are incorporated herein by reference as

paragraph sixty-three (63).

        64.     During Plaintiff’s employment with OPRF, OPRF has engaged in and is

continuing to engage in discriminatory retaliation against Plaintiff for exercising her statutory

rights in complaining about discriminatory behavior by a fellow OPRF employee in violation of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e.

        65.     As a direct and proximate result of Defendants’ discrimination against Plaintiff,

she has suffered and will continue to suffer damage including loss of wages and benefits,

liquidated damages, back pay, pain and suffering, and extreme and severe mental anguish and

emotional distress. Plaintiff is thereby entitled to general and compensatory damages in amounts

to be proven at trial.

        66.     Plaintiff also seeks prejudgment interest, post-judgment interest, and costs

including reasonable statutory attorneys’ fees and expert witness fees.



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       67.     Plaintiff also seeks preliminary and permanent including mandatory injunctive

relief ordering OPRF to restore Plaintiff to her assistant coach position, and enjoining OPRF

from engaging in any further retaliatory action against Plaintiff arising from her discrimination

complaints.

       WHEREFORE, Plaintiff prays for judgment in her favor and against Defendants and asks

that the court award her direct and consequential damages, lost wages and benefits, liquidated

damages, back pay, reasonable statutory attorneys’ fees, expert witness fees, and costs, and

preliminary and permanent including mandatory injunctive relief ordering OPRF to restore

Plaintiff to her assistant coach position, and enjoining OPRF from engaging in any further

retaliatory action against Plaintiff arising from her discrimination complaints, and such other

relief as the Court may find appropriate.

JURY TRIAL IS DEMANDED FOR ALL COUNTS

                                                           Respectfully submitted,
                                                           Danielle Dobias,
                                                           Plaintiff,
                                                           By: /s/ Nicholas F. Esposito
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